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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
     Plaintiff,                      )
                                     )     4:05CR3099
     v.                              )
                                     )
KELVIN R. LYONS and                  )
MICHAEL C. ELMA,                     )       ORDER
                                     )
     Defendant.


     IT IS ORDERED:

     1. An evidentiary hearing on defendant Elma’s motion to
suppress evidence, filing 32, will be held in conjunction with
the previously-set hearing as to defendant Lyons before the
undersigned on December 22, 2005 at 1:30 p.m. in Courtroom #2,
United States Courthouse and Federal Building, 100 Centennial
Mall North, Lincoln, Nebraska. The court has set aside two hours
for this hearing.

     2. The defendants, defendants’ counsel, and counsel for the
government shall be present at this hearing.

     3. Pursuant to NECrimR 12.5, copies of all exhibits
expected to be offered into evidence during the hearing, except
those to be used for impeachment only, shall be delivered to the
chambers of the undersigned at least twenty-four (24) hours
before the hearing and, at the outset of the hearing, to the
extent reasonably possible, the parties shall provide the
undersigned and the courtroom deputy with a written list of all
witnesses the parties expect to call.

     4. As to all defendants, the trial of this case is
continued until further order of the court following resolution
of outstanding motions.

     Dated December 8, 2005.

                                    BY THE COURT

                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
